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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

L. LIN WOOD, JR.,                     )
                                      )
          Plaintiff,                  )
-vs-                                  )
                                      ) Case No. 1-21-cv-01169 TCB
PAULA J. FREDERICK, et al.,           )
                                      )
          Defendants.                 )


  NOTICE OF FILING OF PLAINTIFF’S APPENDIX OF EXHIBITS IN
     SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION

       Comes now the Plaintiff and files the attached Appendix of Exhibits in support

of Plaintiff’s Motion For Preliminary Injunction.

                                             Respectfully submitted,

                                             By: /s/ Larry L. Crain
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                         CERTIFICATE OF SERVICE

      The undersigned does hereby certify that a true and correct copy of the

foregoing Notice of Filing of Plaintiff’s Appendix of Exhibits in Support of Motion

for Preliminary Injunction was served on the following individual(s) via the Court’s

ECF-filing system and via U.S. Mail upon the following individuals:


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                                      /s/ Larry L. Crain
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